                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                   at KNOXVILLE

 ANGELA UPCHURCH and ROBERT                     )
 UPCHURCH,                                      )
                                                )
       Plaintiffs,                              )
                                                )      No. 3:22-cv-431
 v.                                             )
                                                )      Judge Collier
 JADEN WOODS HORN and TENNESSEE                 )
 VALLEY AUTHORITY,                              )      Magistrate Judge Poplin
                                                )
       Defendants.                              )

                                      SCHEDULING ORDER

 1.    Introduction: Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure, a
       scheduling conference was held in this cause on April 27, 2023.

 2.    Jurisdiction: The subject matter jurisdiction of the Court has been invoked pursuant to
       28 U.S.C. § 1331 and is not in dispute.

 3.    Consent to Magistrate Judge: The parties do not consent that all proceedings in this case
       may be conducted by a United States Magistrate Judge in accordance with 28 U.S.C.
       § 636(c).

 4.    Settlement/Alternative Dispute Resolution:    The possibility of settlement is fair at this
       time.

 5.    Disclosure and Discovery:

       (a)     Fed. R. Civ. P. 26(f) Meeting: The parties have held a discovery planning meeting
               as required by Rule 26(f).

       (b)     Discovery Plan: The parties have filed with the Court a discovery plan in
               accordance with Rule 26(f).

       (c)     Initial Disclosures:    The parties have made all disclosures required by Rule
               26(a)(1).

       (d)     Expert Testimony: Disclosure of any expert testimony in accordance with Rule
               26(a)(2) shall be made by Plaintiff by September 22, 2023, and Defendant by
               November 21, 2023.




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       (e)   Final Witness List: On or before June 14, 2024, the parties shall provide to all
             other parties a final witness list in accordance with Rule 26(a)(3)(A)(i). Within
             seven (7) days after service of this final witness list, the list may be supplemented.
             After that time the list may be supplemented only with leave of the Court and for
             good cause.

       (f)   All Discovery: All discovery, including the taking of depositions “for evidence”
             and requests for admissions, shall be completed by March 20, 2024.

       (g)   Pretrial Disclosures: On or before August 15, 2024, the parties shall make the
             pretrial disclosures specified in Rule 26(a)(3)(A)(ii) and (iii) (deposition testimony
             and exhibit list). All deposition testimony to be offered into evidence must be
             disclosed to all other parties on or before this date.

       (h)   Courtroom Technology: Your trial will be conducted with all exhibits in
             electronic format with use of the Jury Evidence Recording System (JERS). Paper
             documents should not be used. At least seven (7) days before the final pretrial
             conference, the parties shall disclose, to one another and to the Court, technology
             they intend to use in the courtroom during the trial and how they intend to use it
             (e.g., display equipment; data storage, retrieval, or presentation devices). This
             disclosure shall list (1) equipment they intend to bring into the courtroom to use,
             and (2) equipment supplied by the Court the parties intend to use. Further, the
             parties shall disclose to one another the content of their electronic or digital
             materials, and shall confirm the compatibility and viability of their planned use of
             technology with the Court’s equipment on or before the date of the final pretrial
             conference. In order to best facilitate presentation of evidence at trial, parties are
             strongly encouraged to provide their exhibits to the courtroom deputy on the date
             of the final pretrial conference, or at least seven (7) days prior to trial. Information
             on JERS, specific requirements, and equipment supplied by the Court is available
             on the Eastern District of Tennessee website (www.tned.uscourts.gov). Specific
             questions about Court-supplied equipment should be directed to the courtroom
             deputy (directory available on website).

 6.    Other Scheduling Matters:

       (a)   Joinder of Parties and Amendment of Pleadings: Because the parties did not
             indicate a preferred deadline for joinder of parties or amendment of the pleadings
             at the scheduling conference, any joinder or motion to amend shall be filed no later
             than forty-five (45) days from the entry of this order.

       (b)   Dispositive Motions: All dispositive motions under Rule 12 and all motions for
             summary judgment pursuant to Rule 56 shall be filed as soon as possible, but no
             later than April 22, 2024. The failure to timely file such motions will be grounds
             to summarily deny them.


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        (c)     Motions in Limine: Any motions in limine must be filed no later than August 1,
                2024.

        (d)     Special Requests to Instruct for Jury Trial: Requests for jury instructions shall
                be submitted to the Court pursuant to Local Rule 51.1 no later than August 15,
                2024, and shall be supported by citations of authority pursuant to Local Rule 7.4.
                A copy of the prepared jury instructions shall be filed with the Court and sent as a
                Microsoft    Word      document       or   in     a     compatible     format     to
                collier_chambers@tned.uscourts.gov.

                The parties shall confer and submit joint proposed jury instructions to the extent
                possible. Before submitting proposed instructions to the Court, the parties must
                attempt to resolve any disagreements. All proposed jury instructions must follow
                the form of the Sixth Circuit Criminal Pattern Jury Instructions.

        (e)     Proposed Findings of Fact and Conclusions of Law for Nonjury Trial: The
                parties shall submit to the Court proposed findings of fact and conclusions of law,
                which shall be supported by citations of authority in accordance with Local Rule
                52.1, no later than August 15, 2024. Proposed findings of facts shall contain a
                jurisdictional statement, identify the parties, and set out the facts in the
                chronological order the particular party intends to prove at trial. Conclusions of law
                should be concise with appropriate citations of authority pursuant to Local Rule
                7.4. Conclusions of law should not be argumentative. A copy of the prepared
                proposed findings of fact and conclusions of law should be sent as a Microsoft
                Word         document        or      in      a       compatible        format        to
                collier_chambers@tned.uscourts.gov.

 7.     Final Pretrial Conference: A final pretrial conference will be held in chambers on
        Thursday, August 29, 2024, at 4:00 p.m. The parties shall prepare and submit a
        proposed final pretrial order to the Court no later than one business day before the date of
        the final pretrial conference. A sample copy of the final pretrial order is located on the
        district court’s web page at www.tned.uscourts.gov.

 8.     Trial: The trial of this case will be held in Chattanooga before the United States District
        Judge and a jury for Defendant Jaden Woods Horn and before the United States District
        Judge without the intervention of a jury for Defendant Tennessee Valley Authority 1
        beginning on September 9, 2024. The trial is expected to last five (5) days. The parties
        shall be prepared to commence trial at 9:00 a.m. on the date which has been assigned. If
        this case is not heard immediately, it will be held in line until the following day or anytime
        during the week of the scheduled trial date.



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           Mays v. Tenn. Valley Authority, 699 F. Supp. 2d 991, 1033 (E.D. Tenn. 2010) (quoting
 Jones-Hailey v. Tenn. Valley Authority, 660 F. Supp. 551, 552 (E.D. Tenn. 1987)) (“[T]he TVA
 Act does not contain an express grant of a right to trial by jury for tort claims against TVA. . . .
 The jury right in actions against . . . TVA[] may not be implied.”).
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 Should the scheduled trial date change for any reason, the other dates contained in this order
 shall remain as scheduled. Should the parties desire a change in any of the other dates, they
 should notify the Court by motion and seek an order changing those dates.


        SO ORDERED.

        ENTER:


                                                   /s/
                                                   CURTIS L. COLLIER
                                                   UNITED STATES DISTRICT JUDGE




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